              Case 15-06006 Document 95 Filed in TXSB on 12/16/19 Page 1 of 4



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

In re:                                    §
                                          §
                                          §
BUCCANEER RESOURCES, LLC, et al.          §   Case No. 14-60041
                                          §
      Debtors.                            §
                                          §
                                          §
CURTIS BURTON,                            §
                                          §
      Plaintiff/Counterdefendant.         §
                                          §   Adv. Pro. No. 15-6006
vs.                                       §
                                          §
MERIDIAN CAPITAL                          §
INTERNATIONAL FUND, MERIDIAN              §
CAPITAL CIS FUND, FRED M.                 §
TRESCA, RANDY A. BATES, AND               §
BRANTA II, LLC                            §
                                          §
  Defendants/Counterplaintiffs.           §
                                          §
                                          §   JUDGE: DAVID R. JONES
                                          §
                                          §   PARTY’S NAME: FRED M. TRESCA,
                                          §   RANDY A. BATES, AND BRANTA II, LLC
                                          §
                                          §   ATTORNEYS’ NAMES: JOSHUA W.
                                          §   WOLFSHOHL AND TOM KIRKENDALL
                                          §
                                          §   NATURE OF PROCEEDINGS:
                                          §
                                          §   Defendants’ Emergency Motion to Enforce
                                          §   Plan Injunction and Enjoin State Court
                                          §   Summary Judgment Proceeding [Docket No.
                                          §   86]
                                          §
                                          §   HEARING DATE: December 18, 2019 at
                                          §   11:00 A.M.
                                          §

                                      EXHIBIT LIST



 10374180v1
             Case 15-06006 Document 95 Filed in TXSB on 12/16/19 Page 2 of 4




        Defendants reserve the right to amend and/or supplement this Exhibit List.

 NO.                      DESCRIPTION                     M   O   O   A   D     DISPOSITION
                                                          A   F   B   D   A     AFTER TRIAL
                                                          R   F   J   M   T
                                                          K   E   E   I   E
                                                          E   R   C   T
                                                          D   E   T
                                                              D
  1.          Settlement Order (Main Case, Doc. No.
              346)
  2.          Sale Order (Main Case, Doc. No. 489)
  3.          First Amended Joint Chapter 11 Plan of
              Reorganization for the Debtors and
              Debtors-in-Possession (Main Case, Doc.
              No. 506)
  4.          Confirmation Order (Main Case, Doc.
              No. 591)
  5.          Plaintiff’s Original Petition and Request
              for Disclosure in Compton v. Burton, et
              al., Cause No. 2015-66898, 190th Judicial
              District Court of Harris County, Texas
  6.          Plaintiff’s First Amended Original
              Complaint (Doc. No. 17)
  7.          Redline comparing Original Petition to
              First Amended Original Complaint (Doc.
              No. 20-1)
  8.          Plaintiff’s Second Amended Original
              Complaint (Doc. No. 25)
  9.          Transcript of March 15, 2016 Hearing
              (Doc. No. 27)
  10.         Transcript of April 7, 2016 Hearing
              (Doc. No. 28)
  11.         Order of Partial Dismissal and Partial
              Remand (Doc. No. 34)
  12.         Motion to Amend the Court’s Order of
              Partial Dismissal and Partial Remand
              (Doc. No. 37)
  13.         Order of Remand (Doc. No. 83)
  14.         Plaintiff’s Traditional and No Evidence
              Motions for Summary Judgment (Doc.
              No. 86-1)




                                                   2
10374180v1
             Case 15-06006 Document 95 Filed in TXSB on 12/16/19 Page 3 of 4



 NO.                      DESCRIPTION                     M   O   O       A   D   DISPOSITION
                                                          A   F   B       D   A   AFTER TRIAL
                                                          R   F   J       M   T
                                                          K   E   E       I   E
                                                          E   R   C       T
                                                          D   E   T
                                                              D
  15.         Plaintiff’s Response to Defendants’
              Requests for Disclosure in in Compton v.
              Meridian Capital International Fund, et
              al., Cause No. 2015-50245, 270th Judicial
              District Court of Harris County, Texas
  16.         June 14, 2019 Email Regarding
              Discovery Responses (Weining-Baker, et
              al.)
  17.         Any exhibit offered for admission by any
              other party at the hearing
  18.         Any exhibit necessary for impeachment
  19.         Any exhibit necessary for rebuttal

                                          WITNESS LIST

    Defendants reserve the right to amend and/or supplement this Witness List.

    1. Curtis Burton
    2. Any witness listed by any other party.
    3. Any rebuttal or impeachment witness.

    Dated: December 16, 2019.
                                                Respectfully submitted,

                                                PORTER HEDGES LLP

                                                /s/ Joshua W. Wolfshohl
                                                Joshua W. Wolfshohl
                                                State Bar No. 24038592
                                                Aaron J. Power
                                                State Bar No. 24058058
                                                1000 Main Street, 36th Floor
                                                Houston, TX 77002
                                                (713) 226-6695
                                                (713) 226-6295 (fax)
                                                jwolfshohl@porterhedges.com
                                                apower@porterhedges.com
                                                ATTORNEYS FOR FRED TRESCA, RANDY
                                                BATES, AND BRANTA II, LLC

                                                   3
10374180v1
             Case 15-06006 Document 95 Filed in TXSB on 12/16/19 Page 4 of 4



                               CERTIFICATE OF SERVICE

      This will certify that on December 16, 2019, a true and correct copy of the foregoing
document was forwarded by electronic mail through the Court’s ECF filing system to all parties
who have registered an appearance in the case.

                                           /s/ Joshua W. Wolfshohl
                                           Joshua W. Wolfshohl




                                              4
10374180v1
